    Case 23-54586-pwb       Doc 17    Filed 05/30/23 Entered 06/01/23 17:04:27            Desc Main
                                      Document     Page 1 of 1
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                                                                                                          Bankruptcy
                                                                                                           Georgia Court
                           UNITED STATES BANKRUPTCY COURT                                    114/1Y   30
                            NORTHERN DISTRICT OF GEORGIA                                                     2023
                                   ATLANTA DIVISION

      IN RE:
                                                   :   Case No. 23-54586
       Oftvad 6. Nelfork                           :   Chapter 7
                Debtor


               STATEMENT REGARDING PAYMENT ADVICES (11 U.S.C. §521(a)(1))


      I, the undersigned debtor, hereby certify that during the 60 day period preceding the filing
      of my bankruptcy petition in this case, I did not receive pay stubs from an employer
      because:


             I am unemployed; or

     El      I am self-employed; or

     LI      My employer did not provide pay stubs.

             Other




Dated: 5/20/2023                                 Ortvact 6. Nei/rah
                                                                     Debtor
